Case No. 1:22-cv-01129-NYW-SKC Document 82-2 filed 12/08/22 USDC Colorado pg 1 of
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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129

   ERIC COOMER, PhD.,

         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,

         Defendants


                                    EXHIBIT B
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Subject:    Relayed: Coomer v Lindell et al; No. 22-cv-01129
Date:       Wednesday, December 7, 2022 at 6:25:39 PM Central Standard Time
From:       MicrosoH Outlook
To:         Joe Oltmann
A1achments: Coomer v Lindell et al; No. 22-cv-01129.eml

Delivery to these recipients or groups is complete, but no delivery notification was sent by the
destination server:
Joe Oltmann (joe@pidoxa.com)

Subject: Coomer v Lindell et al; No. 22-cv-01129
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Subject:    Relayed: Coomer v Lindell et al; No. 22-cv-01129
Date:       Wednesday, December 7, 2022 at 6:25:41 PM Central Standard Time
From:       MicrosoH Outlook
To:         joe@conservaNve-daily.com
A1achments: Coomer v Lindell et al; No. 22-cv-01129.eml

Delivery to these recipients or groups is complete, but no delivery notification was sent by the
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joe@conservative-daily.com (joe@conservative-daily.com)

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Subject:    Relayed: Coomer v Lindell et al; No. 22-cv-01129
Date:       Wednesday, December 7, 2022 at 6:25:39 PM Central Standard Time
From:       MicrosoH Outlook
To:         joe@fecunited.com
A1achments: Coomer v Lindell et al; No. 22-cv-01129.eml

Delivery to these recipients or groups is complete, but no delivery notification was sent by the
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